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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


LISA BAKER, JACQUELINE
DOUGHTERY, KENYANNA
JONES, and AMELIA WELTNER,

       Plaintiffs                          Case No. 1:23-cv-2999-MHC

v.

CITY OF ATLANTA,

      Defendants.


        DEFENDANT CITY OF ATLANTA’S NOTICE OF APPEAL

                                Robert L. Ashe
                              Ga. Bar No. 208077
                              ashe@bmelaw.com
                           Jane D. “Danny” Vincent
                              Ga. Bar No. 380850
                            vincent@bmelaw.com
                              Matthew R. Sellers
                             Ga. Bar. No. 691202
                             sellers@bmelaw.com

                     BONDURANT MIXSON & ELMORE LLP
                     1201 W. Peachtree St. NE, Suite 3900
                             Atlanta, GA 30309
                               404-881-4100

                     Attorneys for Defendant City of Atlanta




     #3564218v1
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      Defendant City of Atlanta gives notice that it is taking an appeal from this

Court’s order [Doc. 26] granting Plaintiffs’ Motion for Preliminary Injunction [Doc.

2] to the United States Court of Appeals for the Eleventh Circuit.



      This 28th day of July, 2023.


                                             /s/ Robert L. Ashe III
                                             Robert L. Ashe III
                                             Georgia Bar No. 208077
                                             ashe@bmelaw.com
                                             Jane D. Vincent
                                             Ga. Bar No. 380850
                                             vincent@bmelaw.com
                                             Matthew R. Sellers
                                             Georgia Bar No. 691202
                                             sellers@bmelaw.com
                                             Bondurant, Mixson & Elmore, LLP
                                             3900 One Atlantic Center
                                             1201 W. Peachtree Street, NW
                                             Atlanta, GA 30309
                                             (404) 881-4100 – Telephone
                                             (404) 881-4111 – Facsimile

                                             Attorneys for the City of Atlanta




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on July 28, 2023, I served a true and correct copy of the

within and foregoing DEFENDANT CITY OF ATLANTA’S NOTICE OF

APPEAL by filing it with the Court’s electronic filing system, which will serve a

copy on all counsel of record.

                                                    /s/ Robert L. Ashe III
                                                    Robert L. Ashe III
                                                    Georgia Bar No. 208077




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